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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                      No. 4:05CR00026 SWW

PAUL HAROLD HARPOLE


                      FINAL ORDER OF FORFEITURE


      WHEREAS, on February 1, 2006, this Court entered a

Preliminary Order of Forfeiture, ordering defendant to forfeit

$43,000.00 in U.S. Currency1;

and

      WHEREAS, the United States caused to be published in the

Arkansas Democrat Gazette, a newspaper of general circulation,

notice of this forfeiture and of the intent of the United States

to dispose of the property in accordance with the law and as

specified in the Preliminary Order, and further notifying all

third parties of their right to petition the Court within thirty

(30) days for a hearing to adjudicate the validity of their

alleged legal interest in the property; and

      WHEREAS, no timely claim has been filed; and

      WHEREAS, the Court finds that defendant Paul Harold Harpole

Files had an interest in the property that is subject to


      1
      The original seized amount was $48,460.00. Defendant was
convicted on the forfeiture allegation in the amount of
$43,000.00. The remaining balance of $5,460.00 is to be returned
to the proper party as soon as the appeal time has run.
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forfeiture pursuant to Title 21 U. S. C. Section 853(a);

     NOW   THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

that the assets described as:

     a.    $43,000.00 in U. S. Currency

is hereby forfeited to the United States of America pursuant to

Title 21, United States Code, § 853(n)(7).

     IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right,

title and interest to the property described above is hereby

condemned, forfeited and vested in the United States of America,

and shall be disposed of according to law.

     SO ORDERED this 27th day of April, 2006.



                                /s/Susan Webber Wright


                                UNITED STATES DISTRICT JUDGE
